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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


   IN RE: JOHNSON & JOHNSON                     Case No. 3:16-md-2738-MAS-RLS
   TALCUM POWDER PRODUCTS
   MARKETING, SALES                             MDL Case No. 2738
   PRACTICES, AND PRODUCTS
   LIABILITY LITIGATION

   THIS DOCUMENT RELATES TO
   ALL CASES



      PLAINTIFFS’ STEERING COMMITTEE’S MOTION TO SEAL
        EXHIBIT 4 TO SUPPLEMENTAL BRIEF IN SUPPORT OF
     MOTION TO QUASH OR FOR PROTETIVE ORDER REGARDING
               SUBPOENA DIRECTED AT KCIC, LLC


        Pursuant to Rule 5(d) of the Federal Rules of Civil Procedure and Local

  Civil Rules 5.3(c) and 7.1, Plaintiffs, by and through Plaintiffs’ Steering

  Committee (“PSC”), hereby move to file Exhibit 4 to the Declaration of Michelle

  A. Parfitt, submitted in support of the PSC’s Supplemental Brief in Support of

  Motion to Quash or for Protective Order Regarding Subpoena Directed at KCIC,

  LLC (ECF No. 29596) under seal.

        The PSC has asserted the mediation privilege with respect to the KCIC

  documents at issue in the Motion to Quash and listed on the privilege log, and

  information on the privilege log itself constitutes privileged and confidential



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  attorney work product. Therefore, the PSC moves the Court for leave to submit

  Exhibit 4 to the Declaration of Michelle A. Parfitt under seal.

        A Proposed Order is simultaneously submitted with this Motion.

   Dated: March 15, 2024                        Respectfully submitted,


                                                /s/ Michelle A. Parfitt
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                                                Plaintiffs’ Co-Lead Counsel

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                                                Plaintiffs’ Liaison Counsel


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                           CERTIFICATE OF SERVICE

        I hereby certify that on March 15, 2024, I electronically filed the foregoing

  document with the Clerk of the Court using the CM/ECF system which will send

  notification of such filing to the CM/ECF participants registered to receive services

  in this MDL.

                                                Respectfully submitted,

                                                /s/ Michelle A. Parfitt
                                                Michelle A. Parfitt




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